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                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

 IN RE:                                                   )      CASE NO. 19-25851-AJC
                                                          )
 SONIA VALES,                                             )      CHAPTER 13
                                                          )
           DEBTOR.                                        )      JUDGE: A. JAY CRISTOL
                                                          )




                     WITHDRAWAL OF MOTION TO ALLOW LATE CLAIM (Doc. No. 50)

         COMES NOW New Residential Mortgage, LLC as serviced by NewRez LLC DBA Shellpoint Mortgage
Servicing, a secured creditor holding a Mortgage on real property commonly known as 20275 NE 2nd Ave #9,
Miami, FL 33179, to withdraw the following Motion to Allow Late Claim:

          Creditor Name:                              New Residential Mortgage, LLC
          Docket Number:                              50
          Filed Date:                                 March 23, 2020



          New Residential Mortgage, LLC filed the A Motion to Allow Late Claim in error.


          This 24th day of March, 2020



                                                     /s/Melbalynn Fisher
                                                    Melbalynn Fisher
                                                    Agent for Transferee
                                                    McCalla Raymer Leibert Pierce, LLC
                                                    1544 Old Alabama Road
                                                    Roswell, GA 30076




INTB-18-00964
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
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 IN RE:                                                    )      CASE NO. 19-25851-AJC
                                                           )
 SONIA VALES,                                              )      CHAPTER 13
                                                           )
           DEBTOR.                                         )      JUDGE: A. JAY CRISTOL
                                                           )


                                          CERTIFICATE OF SERVICE

         I hereby certify that I have served a true and correct copy of the foregoing Withdrawal of the Agreed Order
Granting Motion to Allow Late Filed Proof of Claim to the following registered ECF participants, electronically
through the Court’s ECF System at the email registered with the Court and to the following via ordinary U.S. Mail
as indicated below on this:

Served by ordinary U.S. Mail                                   Served Electronically by the Court

Debtor:                                                        Trustee:


Sonia Vales                                                    Nancy K. Neidich
20275 NE 2nd Avenue #9                                         POB 279806
Miami, FL 33179                                                Miramar, FL 33027

                                                               Debtor’s Attorney:
                                                               Carolina A Lombardi
                                                               Legal Services of Greater Miami, Inc.
                                                               4343 West Flagler Street #100
                                                               Miami, FL 33134




          This 24th day of March, 2020



                                                      /s/Melbalynn Fisher
                                                     Melbalynn Fisher
                                                     Agent for Transferee
                                                     McCalla Raymer Leibert Pierce, LLC
                                                     1544 Old Alabama Road
                                                     Roswell, GA 30076




INTB-18-00964
